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                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
                          ______________________

SHARON BRIDGEWATER,                 )
                                    )
                  Plaintiff,        )
                                    )          Case No. 1:18-cv-00953
v.                                  )
                                    )          Honorable Paul L. Maloney
DONALD J. TRUMP, et al.,            )
                                    )
                  Defendants.       )
____________________________________)

                      REPORT AND RECOMMENDATION

      Plaintiff filed this action on April 12, 2018, in the District of Columbia, alleging

that defendants had engaged in a criminal conspiracy to wrongfully deny her request

for waiver of an overpayment of Social Security Insurance. (ECF No. 1). Plaintiff

filed an application to proceed in forma pauperis that same date. (ECF No. 2). On

May 10, 2018, this action was transferred to the Western District of Michigan, leaving

this Court to the determination of plaintiff’s in forma pauperis application (ECF

No. 6).

      On August 27, 2018, this Court ordered plaintiff to file an amended application

to proceed in forma pauperis using the required AO form 239 within seven days.

(ECF No. 9). The Court provided instructions on how to access the form. (See id.,

PageID.37). Plaintiff failed to file an amended application.

      On September 17, 2018, this Court entered an order requiring plaintiff to show

cause, no later than October 1, 2018, why this matter should not be dismissed
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pursuant to Federal Rule of Civil Procedure 41(b) and Western District of Michigan

Local Civil Rule 41.1 for want of prosecution and failure to comply with the rules of

this Court. (ECF No. 10). Plaintiff has failed to respond.

                            Recommended Disposition

         Accordingly, I recommend the plaintiff’s complaint (ECF No. 1) be dismissed

with prejudice for lack of prosecution pursuant to Federal Rule of Civil

Procedure 41(b) and Local Rule 41.1, and that no fees or costs be awarded to the

defendant.

         This Report and Recommendation serves as plaintiff’s final notice of

impending dismissal.         Failure to timely respond to this Report and

Recommendation would constitute a waiver of any of plaintiff’s rights in

this matter, including a right to appeal.



Dated: October 30, 2018                 /s/ Phillip J. Green
                                        PHILLIP J. GREEN
                                        United States Magistrate Judge
                               NOTICE TO PARTIES
ANY OBJECTIONS to this Report and Recommendation must be filed and served
within fourteen days of service of this notice on you. 28 U.S.C. ' 636(b)(1)(C); FED. R.
CIV. P. 72(b). All objections and responses to objections are governed by W.D. MICH.
LCIVR 72.3(b). Failure to file timely and specific objections may constitute a waiver
of any further right of appeal. See Thomas v. Arn, 474 U.S. 140 (1985); Keeling v.
Warden, Lebanon Corr. Inst., 673 F.3d 452, 458 (6th Cir. 2012); United States v.
Branch, 537 F.3d 582, 587 (6th Cir. 2008). General objections do not suffice. See
McClanahan v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir. 2006); Frontier
Ins. Co. v. Blaty, 454 F.3d 590, 596-97 (6th Cir. 2006).




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